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 5
      Attorneys for Defendant
 6    BRENDA CARMONA-VENEGAS
 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                      Case No. 1:20-cr-00044-DAD-BAM
12                      Plaintiff,
                                                     WAIVER OF DEFENDANT’S PERSONAL
13    vs.                                            PRESENCE; ORDER
14    BRENDA CARMONA-VENEGAS,
15                     Defendant.
16
17           Pursuant to Fed. R. Crim P. 43(b)(3), Defendant, Brenda Carmona-Venegas, having been
18    advised of her right to be present at all stages of the proceedings, hereby requests that this Court
19    proceed in her absence on every occasion that the Court may permit, pursuant to this waiver.
20    Defendant agrees that her interests shall be represented at all times by the presence of her
21    attorney, the Office of the Federal Defender for the Eastern District of California, the same as if
22    Defendant were personally present, and requests that this court allow her attorney-in-fact to
23    represent her interests at all times. Defendant further agrees that notice to Defendant's attorney
24    that Defendant's presence is required will be deemed notice to the Defendant of the requirement
25    of her appearance at said time and place.
26           Ms. Carmona-Venegas currently resides in the Los Angeles area and is under Pretrial
27    Supervision and is in full compliance with all her conditions. She works full-time to provide
28    support for her family and it is a financial hardship for Ms. Carmona-Venegas to have to miss a
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 1    day of work in order to travel to Fresno for court. Defense counsel is in constant contact with
 2    Ms. Carmona-Venegas and has had no difficulties in communication with her.
 3
 4
 5    Dated: February 28, 2020                     Original Signature on File
                                                   BRENDA CARMONA-VENEGAS
 6                                                 Defendant
 7
 8
 9    Dated: February 28, 2020                     /s/ Charles J. Lee
                                                   CHARLES J. LEE
10                                                 Assistant Federal Defender
                                                   Attorneys for BRENDA CARMONA-VENEGAS
11
12
13
14                                               ORDER
15           GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s
16    appearance may be waived at any and all non-substantive pretrial proceedings until further order.

17
      IT IS SO ORDERED.
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19       Dated:     March 2, 2020                             /s/ Barbara A. McAuliffe              _
                                                        UNITED STATES MAGISTRATE JUDGE
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       Carmona-Venegas: Rule 43 Waiver               -2-
